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                  8

                  9                          UNITED STATES DISTRICT COURT
             10                            SOUTHERN DISTRICT OF CALIFORNIA
             11

             12 Robert Adams, individually; James                 ) Case No. '14CV2810 DMS WVG
                      Anthony, individually; Edward Backes,       )
             13 individually; James D. Ballie, as                 ) COMPLAINT FOR DAMAGES
                      trustee for the William E. and Phyllis      )
             14 M. Wade Revocable Living Trust dated              ) 1. Negligence
                      April 1, 1998, individually; Darrel         ) 2. Negligence Per Se
             15 Basta, individually;Richard Bauersfeld,           )
                      individually; Michael Bepko,                )
             16 individually; Randy Brill, individually;          )
                      Jack Capps, individually; Richard           )
             17 Carlson, individually; Harold Carter              )
                      individually; Ron Chandler                  )
             18 individually; Edward Collins,                     )
                      individually; Sal Covarrubias,              )
             19 individually; Garland Cox,                        )
                      individually; Ronald Crain and              )
             20 Deboran Crain, individually; Howard               )
                      Crosby, individually; Carol Dean,           )
             21 individually; Thomas V. Demo, Sr.,                )
                      individually; Jeff Eacock, individually;    )
             22 Karl Engstrom, individually; D. Neil              )
                      Freymiller, individually; George            )
             23 Geanoulis, individually; John Goodloe,            )
                      individually; Louis Hahn, individually;     )
             24 Wendall and Ruby Hill, individually;              )
                      Geoffrey Holbrook, individually; B.M.       )
             25 Hylton, individually; Richard Jayroe,             )
                      individually; Bonnie Johnson,               )
             26 individually; Paul and Bonnie Johnson,            )
                      individually; Judi Kessler, individually;   )
             27 Delmont King, individually; William               )
                      and Niki Kopenhaver, individually;          )
             28 Arnold Korey, individually; Troy
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                                                          COMPLAINT FOR DAMAGES
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                    Kuhn, individually; Adrian Lopez,    )
                  1 individually; John Lorne, Jr.,       )
                individually; Angel Magdaluyo,           )
              2 individually; Frank Miller,              )
                individually; Larry Miller,              )
              3 individually; Daniel C. Morris,          )
                individually; Robert Nagle,              )
              4 individually; Tommy Nilson,              )
                individually; Rodolofo Nobleza,          )
              5 individually; Michael Paine,             )
                individually; Michael R. Palmer,         )
              6 individually; Dave Pirie, individually;  )
                Floyd Quine, individually; Michael L. )
              7 Randall, individually; Don Ruch,         )
                individually; Bill Snell, individually;  )
              8 Bob Sommers, individually; Jack          )
                Sprouse, individually; John C. Thomas, )
              9 II, individually; Carmine Tilghman,      )
                individually; John Trexel, individually; )
             10 William Carl Turnipseed, individually; )
                Eugene Vanoni, individually;             )
             11                                          )
                                       Plaintiffs,       )
             12 vs.                                      )
                                                         )
             13                                          )
                THE UNITED STATES OF                     )
             14 AMERICA, and DOES 1 through 100, )
                                                         )
             15 inclusive,                               )
                                         Defendants.     )
             16                                          )
                                                         )
             17

             18                                 VENUE AND JURISDICTION
             19            1.    This is an action arising under the Federal Tort Claims Act 28 U.S.C. §§
             20 2671 et seq. This Court is vested with original jurisdiction to hear this matter pursuant

             21 to 28 U.S.C. § 1346 (b)(1), which provides in part that, “[t]he district courts … shall

             22 have exclusive jurisdiction of civil actions on claims against the United States, for

             23 money damages, accruing on and after January 1, 1945, for injury or loss of property, or

             24 personal injury or death caused by the negligent or wrongful act or omission of any

             25 officer, employee or servant of the Government while acting within the scope of his

             26 office or employment, under circumstances where the United States, if a private person,

             27 would be liable to the claimant in accordance with the law of the place where the act or

             28 omission occurred.”
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                  1
                              2.    This action arises from a fire that consumed approximately 7,055 acres in
                  2
                      San Diego County, including Mount Laguna in the Cleveland National Forrest, and
                  3
                      destroyed or rendered useless approximately 150 homes, structures, residences, lodges,
                  4
                      cabins, and other buildings, and destroyed hundreds of vehicles, golf carts, and other
                  5
                      significant items of personal property, (hereinafter “CHARIOT FIRE”) all located at the
                  6
                      Al Bahr Shrine Camp on Mt. Laguna in the Cleveland National Forest, located in San
                  7
                      Diego County, California (hereinafter “SHRINE COMMUNITY”), on or about July 8,
                  8
                      2013.
                  9

             10                            PARTIES AND GENERAL ALLEGATIONS
             11               3.   Plaintiff Robert Adams- Plaintiff Robert Adams is and at all relevant times
             12 was a resident of San Diego County and owner of Cabin #102 at the SHRINE

             13 COMMUNITY. Cabin #102 was completely destroyed by the CHARIOT FIRE, and

             14 Plaintiff Robert Adams incurred damages including but not limited to real and personal

             15 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             16 damages.

             17               4.   Plaintiff James Anthony- Plaintiff James Anthony is and at all relevant times
             18 was a resident of San Diego County and owner of Cabin #90 at the SHRINE

             19 COMMUNITY. Cabin #90 was completely destroyed by the CHARIOT FIRE, and

             20 Plaintiff James Anthony incurred damages including but not limited to real and personal

             21 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             22 damages.

             23               5.   Plaintiff Edward Backes- Plaintiff Edward Bakes is and at all relevant times
             24 was a resident of San Diego County and owner of Cabin #87 at the SHRINE

             25 COMMUNITY. Cabin #87 was completely destroyed by the CHARIOT FIRE, and

             26 Plaintiff Edward Backes incurred damages including but not limited to real and personal

             27 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             28 damages.
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                  1        6.   Plaintiff James D. Ballie, as trustee for the William E. & Phyllis M. Wade
                  2 Revocable Living Trust dated April 1, 1998- Plaintiff James D. Ballie, as trustee for the

                  3 William E. and Phyllis M. Wade Revocable Living Trust dated April 1, 1998 is and at

                  4 all relevant times was a resident of Honolulu County and owner of Cabin #6 at the

                  5 SHRINE COMMUNITY. Cabin #6 was completely destroyed by the CHARIOT FIRE,

                  6 and Plaintiff James D. Ballie, as trustee for the William E. and Phyllis M. Wade

                  7 Revocable Living Trust dated April 1, 1998 incurred damages including but not limited

                  8 to real and personal property damage, clean-up costs, costs to repair, costs to replace,

                  9 loss of use and other damages.

             10            7.   Plaintiff Darrel Basta- Plaintiff Darrel Basta is and at all relevant times was a
             11 resident of San Diego County and owner of Cabin #45 at the SHRINE COMMUNITY.

             12 Cabin #45 was completely destroyed by the CHARIOT FIRE, and Plaintiff Darrel Basta

             13 incurred damages including but not limited to real and personal property damage, clean-

             14 up costs, costs to repair, costs to replace, loss of use and other damages.

             15            8.   Plaintiffs Richard Bauersfeld- Plaintiff Richard Bauersfeld is and at all
             16 relevant times was a resident of San Diego County and owner of Cabin #81 at the

             17 SHRINE COMMUNITY. Cabin #81 was completely destroyed by the CHARIOT

             18 FIRE, and Plaintiff Richard Bauersfeld incurred damages including but not limited to

             19 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

             20 of use and other damages.

             21            9.   Plaintiff Michael Bepko- Plaintiff Michael Bepko is and at all relevant times
             22 was a resident of San Diego County and owner of Cabin #95 at the SHRINE

             23 COMMUNITY. Cabin #95 was completely destroyed by the CHARIOT FIRE, and

             24 Plaintiff Michael Bepko incurred damages including but not limited to real and personal

             25 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             26 damages.

             27            10. Plaintiff Randy Brill- Plaintiff Randy Brill is and at all relevant times was a
             28 resident of San Diego County and owner of Cabin #78 at the SHRINE COMMUNITY.
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                  1 Cabin #78 was completely destroyed by the CHARIOT FIRE, and Plaintiff Randy Brill

                  2 incurred damages including but not limited to real and personal property damage, clean-

                  3 up costs, costs to repair, costs to replace, loss of use and other damages.

                  4        11. Plaintiff Jack Capps- Plaintiff Jack Capps is and at all relevant times was a
                  5 resident of San Diego County and owner of Cabin #4 at the SHRINE COMMUNITY.

                  6 Cabin #4 was completely destroyed by the CHARIOT FIRE, and Plaintiff Jack Capps

                  7 incurred damages including but not limited to real and personal property damage, clean-

                  8 up costs, costs to repair, costs to replace, loss of use and other damages.

                  9        12. Plaintiff Richard Carlson- Plaintiff Richard Carlson is and at all relevant
             10 times was a resident of San Diego County and owner of Cabin #25 at the SHRINE

             11 COMMUNITY. Cabin #25 was completely destroyed by the CHARIOT FIRE, and

             12 Plaintiff Richard Carlson incurred damages including but not limited to real and

             13 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             14 and other damages.

             15            13. Plaintiff Harold Carter- Plaintiff Harold Carter is and at all relevant times
             16 was a resident of San Diego County and owner of Cabin #T-13 at the SHRINE

             17 COMMUNITY. Cabin #T-13 was completely destroyed by the CHARIOT FIRE, and

             18 Plaintiff Harold Carter incurred damages including but not limited to real and personal

             19 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             20 damages.

             21            14. Plaintiff Ron Chandler- Plaintiff Ron Chandler is and at all relevant times
             22 was a resident of San Diego County and owner of Cabin #96 at the SHRINE

             23 COMMUNITY. Cabin #96 was completely destroyed by the CHARIOT FIRE, and

             24 Plaintiff Ron Chandler incurred damages including but not limited to real and personal

             25 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             26 damages.

             27            15. Plaintiff Edward Collins- Plaintiff Edward Collins is and at all relevant times
             28 was a resident of San Diego County and owner of Cabin #56 at the SHRINE
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                  1 COMMUNITY. Cabin #56 was completely destroyed by the CHARIOT FIRE, and

                  2 Plaintiff Edward Collins incurred damages including but not limited to real and personal

                  3 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  4 damages.

                  5        16. Plaintiff Sal Covarrubias- Plaintiff Sal Covarrubias is and at all relevant
                  6 times was a resident of San Diego County and owner of Cabin #67 at the SHRINE

                  7 COMMUNITY. Cabin #67 was completely destroyed by the CHARIOT FIRE, and

                  8 Plaintiff incurred damages including but not limited to real and personal property Sal

                  9 Covarrubias damage, clean-up costs, costs to repair, costs to replace, loss of use and

             10 other damages.

             11            17. Plaintiff Garland Cox- Plaintiff Garland Cox is and at all relevant times was
             12 a resident of Yuma, Arizona and owner of Cabin #T-16 at the SHRINE COMMUNITY.

             13 Cabin #T-16 was completely destroyed by the CHARIOT FIRE, and Plaintiff Garland

             14 Cox incurred damages including but not limited to real and personal property damage,

             15 clean-up costs, costs to repair, costs to replace, loss of use and other damages.

             16            18. Plaintiffs Ronald and Deborah Crain- Plaintiffs Ronald and Deborah Crain
             17 are and at all relevant times were residents of Chula Vista, CA and owners of Cabin #T-

             18 3 at the SHRINE COMMUNITY. Cabin #T-3 was completely destroyed by the

             19 CHARIOT FIRE, and Plaintiffs Ronald and Deborah Crain incurred damages including

             20 but not limited to real and personal property damage, clean-up costs, costs to repair,

             21 costs to replace, loss of use and other damages.

             22            19. Plaintiff Howard Crosby- Plaintiff Howard Crosby is and at all relevant
             23 times was a resident of San Diego County and owner of Cabin #61 at the SHRINE

             24 COMMUNITY. Cabin #61 was completely destroyed by the CHARIOT FIRE, and

             25 Plaintiff Howard Crosby incurred damages including but not limited to real and

             26 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             27 and other damages.

             28            20. Plaintiff Carol Dean- Plaintiff Carol Dean is and at all relevant times was a
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                  1 resident of San Diego County and owner of Cabin #14 at the SHRINE COMMUNITY.

                  2 Cabin #14 was completely destroyed by the CHARIOT FIRE, and Plaintiff Carol Dean

                  3 incurred damages including but not limited to real and personal property damage, clean-

                  4 up costs, costs to repair, costs to replace, loss of use and other damages.

                  5        21. Plaintiff Thomas V. Demo, Sr.- Plaintiff Thomas V. Demo, Sr. is and at all
                  6 relevant times was a resident of Montrose, Colorado and owner of Cabin #40 at the

                  7 SHRINE COMMUNITY. Cabin #40 was completely destroyed by the CHARIOT

                  8 FIRE, and Plaintiff Thomas V. Demo, Sr. incurred damages including but not limited to

                  9 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

             10 of use and other damages.

             11            22. Plaintiff Jeff Eacock- Plaintiff Jeff Eacock is and at all relevant times was a
             12 resident of San Diego County and owner of Cabin #21 at the SHRINE COMMUNITY.

             13 Cabin #21 was completely destroyed by the CHARIOT FIRE, and Plaintiff Jeff Eacock

             14 incurred damages including but not limited to real and personal property damage, clean-

             15 up costs, costs to repair, costs to replace, loss of use and other damages.

             16            23. Plaintiff Karl Engstrom- Plaintiff Karl Engstrom is and at all relevant times
             17 was a resident of Florence, Oregon and owner of Cabin #73 at the SHRINE

             18 COMMUNITY. Cabin #73 was completely destroyed by the CHARIOT FIRE, and

             19 Plaintiff Karl Engstrom incurred damages including but not limited to real and personal

             20 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             21 damages.

             22            24. Plaintiff D. Neil Freymiller- Plaintiff D. Neil Freymiller is and at all relevant
             23 times was a resident of San Diego County and owner of Cabin #48 at the SHRINE

             24 COMMUNITY. Cabin #48 was completely destroyed by the CHARIOT FIRE, and

             25 Plaintiff D. Neil Freymiller incurred damages including but not limited to real and

             26 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             27 and other damages.

             28            25. Plaintiff George Geanoulis- Plaintiff George Geanoulis is and at all relevant
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                  1 times was a resident of San Diego County and owner of Cabin #116 at the SHRINE

                  2 COMMUNITY. Cabin #116 was completely destroyed by the CHARIOT FIRE, and

                  3 Plaintiff George Geanoulis incurred damages including but not limited to real and

                  4 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

                  5 and other damages.

                  6        26. Plaintiff John Goodloe- Plaintiff John Goodloe is and at all relevant times
                  7 was a resident of San Diego County and owner of Cabin #62 at the SHRINE

                  8 COMMUNITY. Cabin #62 was completely destroyed by the CHARIOT FIRE, and

                  9 Plaintiff John Goodloe incurred damages including but not limited to real and personal

             10 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             11 damages.

             12            27. Plaintiff Louis Hahn- Plaintiff Louis Hahn is and at all relevant times was a
             13 resident of San Diego County and owner of Cabin #101 at the SHRINE COMMUNITY.

             14 Cabin #101 was completely destroyed by the CHARIOT FIRE, and Plaintiff Louis

             15 Hahn incurred damages including but not limited to real and personal property damage,

             16 clean-up costs, costs to repair, costs to replace, loss of use and other damages.

             17            28. Plaintiffs Wendy and Ruby Hill- Plaintiffs Wendall and Ruby Hill are and at
             18 all relevant times were residents of Pine Valley, CA and owners of Cabin #T-0 at the

             19 SHRINE COMMUNITY. Cabin #T-0 was completely destroyed by the CHARIOT

             20 FIRE, and Plaintiffs Wendy and Ruby Hill incurred damages including but not limited

             21 to real and personal property damage, clean-up costs, costs to repair, costs to replace,

             22 loss of use and other damages.

             23            29. Plaintiff Geoffrey Holbrook- Plaintiff Geoffrey Holbrook is and at all
             24 relevant times was a resident of Imperial, California and owner of Cabin #57 at the

             25 SHRINE COMMUNITY. Cabin #57 was completely destroyed by the CHARIOT

             26 FIRE, and Plaintiff Geoffrey Holbrook incurred damages including but not limited to

             27 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

             28 of use and other damages.
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                  1        30. Plaintiff B.M. Hylton- Plaintiff B.M. Hylton is and at all relevant times was
                  2 a resident of Alpine, California and owner of Cabin #112 at the SHRINE

                  3 COMMUNITY. Cabin #112 was completely destroyed by the CHARIOT FIRE, and

                  4 Plaintiff B.M. Hylton incurred damages including but not limited to real and personal

                  5 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  6 damages.

                  7        31. Plaintiff Richard Jayroe- Plaintiff Richard Jayroe is and at all relevant times
                  8 was a resident of Alexandria, Virgina and owner of Cabin #64 at the SHRINE

                  9 COMMUNITY. Cabin #64 was completely destroyed by the CHARIOT FIRE, and

             10 Plaintiff Richard Jayroe incurred damages including but not limited to real and personal

             11 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             12 damages.

             13            32. Plaintiff Bonnie Johnson- Plaintiff Bonnie Johnson is and at all relevant
             14 times was a resident of Donnelly, Idaho and was and had been employed by the

             15 SHRINE COMMUNITY. Plaintiff Bonnie Johnson incurred damages including but not

             16 limited to personal property, loss of earnings and loss of earning capacity, and other

             17 damages.

             18            33. Plaintiffs Paul and Bonnie Johnson- Plaintiffs Paul and Bonnie Johnson are
             19 and at all relevant times were residents of Donnelly, Idaho and owners of Cabin #68 at

             20 the SHRINE COMMUNITY. Cabin #68 was completely destroyed by the CHARIOT

             21 FIRE, and Plaintiffs Paul and Bonnie Johnson incurred damages including but not

             22 limited to real and personal property damage, clean-up costs, costs to repair, costs to

             23 replace, loss of use and other damages.

             24            34. Plaintiff Judi Kessler- Plaintiff Judi Kessler is and at all relevant times was a
             25 resident of San Diego County and owner of Cabin #35 at the SHRINE COMMUNITY.

             26 Cabin #35 was completely destroyed by the CHARIOT FIRE, and Plaintiff Judi Kessler

             27 incurred damages including but not limited to real and personal property damage, clean-

             28 up costs, costs to repair, costs to replace, loss of use and other damages.
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                  1        35. Plaintiff Delmont King- Plaintiff Delmont King is and at all relevant times
                  2 was a resident of San Diego County and owner of Cabin #73 at the SHRINE

                  3 COMMUNITY. Cabin #73 was completely destroyed by the CHARIOT FIRE, and

                  4 Plaintiff Delmont King incurred damages including but not limited to real and personal

                  5 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  6 damages.

                  7        36. Plaintiffs William and Niki Kopenhaver- Plaintiffs William and Niki
                  8 Kopenahver are and at all relevant times were residents of San Diego County and

                  9 owners of Cabin #100 at the SHRINE COMMUNITY. Cabin #100 was completely

             10 destroyed by the CHARIOT FIRE, and Plaintiffs William and Niki Kopenhaver

             11 incurred damages including but not limited to real and personal property damage, clean-

             12 up costs, costs to repair, costs to replace, loss of use and other damages.

             13            37. Plaintiff Arnold Korey- Plaintiff Arnold Korey is and at all relevant times
             14 was a resident of San Diego County and owner of Cabin #113 at the SHRINE

             15 COMMUNITY. Cabin #113 was completely destroyed by the CHARIOT FIRE, and

             16 Plaintiff Arnold Korey incurred damages including but not limited to real and personal

             17 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             18 damages.

             19            38. Plaintiff Troy Kuhn- Plaintiff Troy Kuhn is and at all relevant times was a
             20 resident of San Diego County and owner of Cabin #99 at the SHRINE COMMUNITY.

             21 Cabin #99 was completely destroyed by the CHARIOT FIRE, and Plaintiff Troy Kuhn

             22 incurred damages including but not limited to real and personal property damage, clean-

             23 up costs, costs to repair, costs to replace, loss of use and other damages.

             24            39. Plaintiff Adrian Lopez- Plaintiff Adrian Lopez is and at all relevant times
             25 was a resident of San Diego County and owner of Cabin #89 at the SHRINE

             26 COMMUNITY. Cabin #89 was completely destroyed by the CHARIOT FIRE, and

             27 Plaintiff Adrian Lopez incurred damages including but not limited to real and personal

             28 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other
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                                                          22



                  1 damages.

                  2        40. Plaintiff John Lorne, Jr.- Plaintiff John Lorne, Jr. is and at all relevant times
                  3 was a resident of San Diego County and owner of Cabin #T-12 at the SHRINE

                  4 COMMUNITY. Cabin #T-12 was completely destroyed by the CHARIOT FIRE, and

                  5 Plaintiff John Lorne, Jr. incurred damages including but not limited to real and personal

                  6 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  7 damages.

                  8        41. Plaintiff Angel Magdaluyo- Plaintiff Angel Magdaluyo is and at all relevant
                  9 times was a resident of San Diego County and owner of Cabin #70 at the SHRINE

             10 COMMUNITY. Cabin #70 was completely destroyed by the CHARIOT FIRE, and

             11 Plaintiff Angel Magdaluyo incurred damages including but not limited to real and

             12 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             13 and other damages.

             14            42. Plaintiff Frank Miller- Plaintiff Frank Miller is and at all relevant times was
             15 a resident of San Diego County and owner of Cabin #T-20 at the SHRINE

             16 COMMUNITY. Cabin #T-20 was completely destroyed by the CHARIOT FIRE, and

             17 Plaintiff Frank Miller incurred damages including but not limited to real and personal

             18 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             19 damages.

             20            43. Plaintiff Larry Miller- Plaintiff Larry Miller is and at all relevant times was a
             21 resident of San Diego County and owner of Cabin #71 at the SHRINE COMMUNITY.

             22 Cabin #71 was completely destroyed by the CHARIOT FIRE, and Plaintiff Larry Miller

             23 incurred damages including but not limited to real and personal property damage, clean-

             24 up costs, costs to repair, costs to replace, loss of use and other damages.

             25            44. Plaintiff Daniel C. Morris- Plaintiff Daniel C. Morris is and at all relevant
             26 times was a resident of San Diego County and owner of Cabin #30 and #60 at the

             27 SHRINE COMMUNITY. Cabin #30 and #60 were completely destroyed by the

             28 CHARIOT FIRE, and Plaintiff Daniel C. Morris incurred damages including but not
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                  1 limited to real and personal property damage, clean-up costs, costs to repair, costs to

                  2 replace, loss of use and other damages.

                  3        45. Plaintiff Robert Nagle- Plaintiff Robert Nagle is and at all relevant times was
                  4 a resident of San Diego County and owner of Cabin #107 at the SHRINE

                  5 COMMUNITY. Cabin #107 was completely destroyed by the CHARIOT FIRE, and

                  6 Plaintiff Robert Nagle incurred damages including but not limited to real and personal

                  7 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  8 damages.

                  9        46. Plaintiff Tommy Nilson- Plaintiff Tommy Nislon is and at all relevant times
             10 was a resident of San Diego County and owner of Cabin #29 at the SHRINE

             11 COMMUNITY. Cabin #29 was completely destroyed by the CHARIOT FIRE, and

             12 Plaintiff Tommy Nilson incurred damages including but not limited to real and personal

             13 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             14 damages.

             15            47. Plaintiff Rodolfo Nobleza- Plaintiff Rodolfo Nobleza is and at all relevant
             16 times was a resident of San Diego County and owner of Cabin #65 at the SHRINE

             17 COMMUNITY. Cabin #65 was completely destroyed by the CHARIOT FIRE, and

             18 Plaintiff Rodolfo Nobleza incurred damages including but not limited to real and

             19 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             20 and other damages.

             21            48. Plaintiff Michael Paine- Plaintiff Michael Paine is and at all relevant times
             22 was a resident of San Diego County and owner of Cabin #103 at the SHRINE

             23 COMMUNITY. Cabin #103 was completely destroyed by the CHARIOT FIRE, and

             24 Plaintiff Michael Paine incurred damages including but not limited to real and personal

             25 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             26 damages.

             27            49. Plaintiff Michael R. Palmer- Plaintiff Michael R. Palmer is and at all
             28 relevant times was a resident of Hemet, California and owner of Cabin #115 at the
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                  1 SHRINE COMMUNITY. Cabin #115 was completely destroyed by the CHARIOT

                  2 FIRE, and Plaintiff Michael R. Palmer incurred damages including but not limited to

                  3 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

                  4 of use and other damages.

                  5        50. Plaintiff Dave Pirie- Plaintiff Dave Pirie is and at all relevant times was a
                  6 resident of San Diego County and owner of Cabin #98 at the SHRINE COMMUNITY.

                  7 Cabin #98 was completely destroyed by the CHARIOT FIRE, and Plaintiff Dave Pirie

                  8 incurred damages including but not limited to real and personal property damage, clean-

                  9 up costs, costs to repair, costs to replace, loss of use and other damages.

             10            51. Plaintiff Floyd Quine- Plaintiff Floyd Quine is and at all relevant times was a
             11 resident of Cathedral City, California and owner of Cabin #53 at the SHRINE

             12 COMMUNITY. Cabin #53 was completely destroyed by the CHARIOT FIRE, and

             13 Plaintiff Floyd Quine incurred damages including but not limited to real and personal

             14 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             15 damages.

             16            52. Plaintiff Michael L. Randall- Plaintiff Michael L. Randall is and at all
             17 relevant times was a resident of San Diego County and owner of Cabin #97 at the

             18 SHRINE COMMUNITY. Cabin #97 was completely destroyed by the CHARIOT

             19 FIRE, and Plaintiff Michael L. Randall incurred damages including but not limited to

             20 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

             21 of use and other damages.

             22            53. Plaintiff Don Ruch- Plaintiff Don Ruch is and at all relevant times was a
             23 resident of San Diego County and owner of Cabin #105 at the SHRINE COMMUNITY.

             24 Cabin #105 was completely destroyed by the CHARIOT FIRE, and Plaintiff Don Ruch

             25 incurred damages including but not limited to real and personal property damage, clean-

             26 up costs, costs to repair, costs to replace, loss of use and other damages.

             27            54. Plaintiff Bill Snell- Plaintiff Bill Snell is and at all relevant times was a
             28 resident of San Diego County and owner of Cabin #33 at the SHRINE COMMUNITY.
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                  1 Cabin #33 was completely destroyed by the CHARIOT FIRE, and Plaintiff Bill Snell

                  2 incurred damages including but not limited to real and personal property damage, clean-

                  3 up costs, costs to repair, costs to replace, loss of use and other damages.

                  4        55. Plaintiff Bob Sommers- Plaintiff Bob Sommers is and at all relevant times
                  5 was a resident of San Diego County and owner of Cabin #T-8 at the SHRINE

                  6 COMMUNITY. Cabin #T-8 was completely destroyed by the CHARIOT FIRE, and

                  7 Plaintiff Bob Sommers incurred damages including but not limited to real and personal

                  8 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

                  9 damages.

             10            56. Plaintiff Jack Sprouse- Plaintiff Jack Sprouse is and at all relevant times was
             11 a resident of San Diego County and owner of Cabin #75 at the SHRINE

             12 COMMUNITY. Cabin #75 was completely destroyed by the CHARIOT FIRE, and

             13 Plaintiff Jack Sprouse incurred damages including but not limited to real and personal

             14 property damage, clean-up costs, costs to repair, costs to replace, loss of use and other

             15 damages.

             16            57. Plaintiff John C. Thomas II- Plaintiff John C. Thomas II is and at all relevant
             17 times was a resident of San Diego County and owner of Cabin #120 at the SHRINE

             18 COMMUNITY. Cabin #120 was completely destroyed by the CHARIOT FIRE, and

             19 Plaintiff John C. Thomas II incurred damages including but not limited to real and

             20 personal property damage, clean-up costs, costs to repair, costs to replace, loss of use

             21 and other damages.

             22            58. Plaintiff Carmine Tilghman- Plaintiff Carmine Tilghman is and at all
             23 relevant times was a resident of Tucson, Arizona and owner of Cabin #77 at the

             24 SHRINE COMMUNITY. Cabin #77 was completely destroyed by the CHARIOT

             25 FIRE, and Plaintiff Carmine Tilghman incurred damages including but not limited to

             26 real and personal property damage, clean-up costs, costs to repair, costs to replace, loss

             27 of use and other damages.

             28            59. Plaintiff John Trexel- Plaintiff John Trexel is and at all relevant times was a
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                  1 resident of San Diego County and owner of Cabin #T-2 at the SHRINE COMMUNITY.

                  2 Cabin #T-2 was completely destroyed by the CHARIOT FIRE, and Plaintiff John

                  3 Trexel incurred damages including but not limited to real and personal property damage,

                  4 clean-up costs, costs to repair, costs to replace, loss of use and other damages.

                  5        60. Plaintiff William Carl Turnipseed- Plaintiff William Carl Turnipseed is and
                  6 at all relevant times was a resident of San Diego County and owner of Cabin #114 at the

                  7 SHRINE COMMUNITY. Cabin #114 was completely destroyed by the CHARIOT

                  8 FIRE, and Plaintiff William Carl Turnipseed incurred damages including but not limited

                  9 to real and personal property damage, clean-up costs, costs to repair, costs to replace,

             10 loss of use and other damages.

             11            61. Plaintiff Eugene Vanoni- Plaintiff Eugene Vanoni is and at all relevant times
             12 was a resident of San Diego County and was and had been employed by the SHRINE

             13 COMMUNITY. Plaintiff Eugene Vanoni incurred damages including but not limited to

             14 personal property, loss of earnings and loss of earning capacity, and other damages.

             15 All of the above named Plaintiffs may be referred to herein collectively as “Plaintiffs.”

             16            62.   Defendant UNITED STATES OF AMERICA (“USA”) is, and at all
             17 relevant times herein was, a governmental entity, organized pursuant to the Constitution

             18 of the United States, and responsible for the Bureau of Land Management (“BLM”)

             19 within the Department of the Interior, responsible for the management and conservation

             20 of public lands, including the area of San Diego County where the CHARIOT FIRE

             21 originated.

             22            63. BLM employee JASON PETERS is, and at all relevant times herein was, an
             23 employee and/or agent of BLM responsible for the area of San Diego County where the

             24 CHARIOT FIRE originated.             Attached as Exhibit 1 is the Certification of Scope of
             25 Employment regarding JASON PETERS.

             26            64.   Plaintiffs are informed and believe, and on this basis alleges that, at all
             27 times herein mentioned, DOES 1 through 100, were the officers, employees, servants,

             28 agents, contractors, subsidiaries, divisions, and other affiliated individuals or entities, of
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                  1 each other, and were acting within the scope and purpose of such agency or

                  2 employment, and with the power and authority vested in them as officers, employees, or

                  3 servants, or ratification, endorsement or approval of the conduct of each other with

                  4 respect to the events and happenings alleged herein. All Defendants herein named may

                  5 be referred to collectively as “Defendants.”

                  6        65.     Defendant USA is vicariously liable for the negligent, reckless, and/or
                  7 intentional acts of JASON PETERS and DOES 1 through 100, all of whom were acting

                  8 in the course and scope of their employment as officers, employees, agents, and/or

                  9 servants at all relevant times herein alleged.

             10            66.     The true names and capacities of Defendants DOES 1 through 100
             11 inclusive are unknown to Plaintiffs, who therefore sue said Defendants by such fictitious

             12 names.           Plaintiffs are informed and believe and allege thereon that each of the
             13 Defendants herein designated as DOE is responsible in some manner for the events and

             14 happenings herein referred to and caused the injuries and damages legally thereby as

             15 hereinafter alleged.

             16                                 PROCEDURAL ALLEGATIONS
             17            67.     As outlined above, each Plaintiff served a Claim for Damages pursuant to
             18 the Federal Tort Claims Act on the BLM. The Claims for Damages are attached hereto

             19 as Exhibits ‘2’ through ‘60.’

             20            67.     As of the date of this filing, all Plaintiff’s claimns have been denied.
             21            68.     In accordance with 28 U.S.C. § 2675(a), Plaintiffs now file this action.
             22                                    FACTUAL ALLEGATIONS
             23            69.     On or about July 6, 2013, JASON PETERS, acting under the course and
             24 scope of his employment and/or agency with the BLM, negligently, recklessly, and/or

             25 intentionally drove, operated, owned, maintained, and/or maintenanced a BLM Jeep,

             26 identified by U.S. Government license plate number I428127 (hereinafter “JEEP”), on

             27 or around Highway S2 and the Great Southern Overland Stage Route, in an area

             28 southwest of Butterfield Ranch Resort, in San Diego County.
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                  1        70.   On or about July 6, 2013, JASON PETERS negligently, recklessly, and/or
                  2 intentionally started the CHARIOT FIRE by failing to inspect and/or notice and/or clear

                  3 debris including but not limited to brush and other material from his JEEP, including

                  4 areas such as his undercarriage, skid plate, and/or transmission area, and other areas of

                  5 his JEEP, while driving across and around the desert floor on and off road.

                  6        71.   Said debris, brush, and other materials in the undercarriage of the JEEP
                  7 ignited from contact with certain component parts of the JEEP including but not limited

                  8 to the catalytic converter or other parts of the exhaust system, and/or the engine block,

                  9 fuel delivery system, and/or other parts of the JEEP. The ignited fire spread and ignited

             10 other material including plastic material of the JEEP, including the plastic fuel line to

             11 the engine compartment creating a fire underneath the JEEP as JASON PETERS

             12 negligently, recklessly, and intentionally drove his JEEP across and around the desert

             13 floor on and off road while under the course and scope of employment with the BLM.

             14 Fire activity was accelerated as the fuel tank contents drained out of the burned fuel

             15 line.

             16            72.   JASON PETERS, while acting under the course and scope of his
             17 employment with the BLM, continued to drive across and around the Great Southern

             18 Overland Stage Route and the desert floor on and off road while the undercarriage of his

             19 JEEP was on fire and/or spreading ignited material, igniting at least four General Origin

             20 Areas (“GOAs”). These four GOAs later combined together to form the CHARIOT

             21 FIRE.

             22            73.   JASON PETERS was, at all relevant times herein alleged, driving,
             23 maintaining, maintenancing,         inspecting or failing to inspect, owning and operating
             24 vehicles owned, controlled, maintained, maintenanced, and/or possessed by BLM, with

             25 the BLM’s express or implied consent and permission, and within the course and scope

             26 of his employment with the BLM.

             27            74.   On or about July 8, 2013, the CHARIOT FIRE spread to the SHRINE
             28 COMMUNITY, a 25 acre mountain community located on Mt. Laguna in the Cleveland
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                  1 National Forest. The SHRINE COMMUNITY has been a private community used by

                  2 Plaintiffs under lawful permit from the United States Forest Service for many, many

                  3 decades.

                  4        75.    The SHRINE COMMUNITY included an 87-year old lodge, dining hall,
                  5 caretaker cabin, two dormitories, five rental cabins, camp area, playgrounds, 100

                  6 permanent trailer pads, 28 transient trailer pads, fixed structure cabins, a water well, 400

                  7 feet of pipeline with a 60,000 gallon water storage tank, as well as associated parking

                  8 areas, roadways, waterlines, septic, gas, power and telephone facilities, as well as other

                  9 features, structures, and things that were destroyed or rendered useless.

             10            76.    The SHRINE COMMUNITY was used by the Plaintiffs and its constituent
             11 members, other members of groups affiliated with Masons, affiliated Masonic Bodies,

             12 their families, and guests for activities including but not limited to camping, meetings,

             13 parties, weddings, and reunions. Other community groups used the SHRINE

             14 COMMUNITY for events, programs, and private activities.

             15            77.    The SHRINE COMMUNITY consisted of approximately 150 structures,
             16 most of which were completely destroyed. The remaining “surviving” structures were

             17 partially damaged and can no longer be used.                    The Plaintiffs permit has been
             18 downgraded to a non-use status and the entire community has been rendered useless.

             19                                  FIRST CLAIM FOR RELIEF
             20                                            I. Negligence
             21                                     (Against All Defendants)
             22            78.    Plaintiffs hereby incorporate each and every allegation contained in
             23 Paragraphs 1 through 30 as though fully set forth herein.

             24            79.    At all relevant times herein alleged Defendants had a duty to act with
             25 reasonable and due care for the safety of others to not cause personal or real property

             26 damage, including as part of their employment and/or duties with and for the BLM.

             27            80.    On July 6, 2013, Defendants created a dangerous condition on Highway S2
             28 at or around the Great Overland Butterfield Stage Route by driving the JEEP with
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                  1 ignited, dry brush caught in the undercarriage.

                  2        81.    Defendants knew or should have known that the JEEP posed the threat of
                  3 and created the dangerous condition in and around an area that was extremely

                  4 susceptible to wild fire based on factors including but not limited to:

                  5                     a)     Temperatures in the fire area were 6-7 degrees Fahrenheit
                  6                            above average;
                  7                     b)     the Burn Index, based on ten years of climatology, was near or
                  8                            at record maximum levels, supporting an exceptionally high
                  9                            probability for large fire growth;
             10                         c)     live fuel moistures were averaging 60%, a critical level;
             11                         d)     winds of five miles per hour with gusts up to 21 miles per
             12                                hours; and
             13                         e)     the probability of ignition was calculated to be at 90%.
             14            82.    Despite this knowledge, Defendants continued to negligently, recklessly,
             15 and/or intentionally operate the JEEP while the JEEP posed the threat of and created the

             16 dangerous condition wherein the JEEP ignited the CHARIOT FIRE.

             17            83.    Defendants knew or should have known of the probability, likelihood, or
             18 threat of fire and/or ignition on the underside of the JEEP. Defendants knew or should

             19 have known of the danger posed by brush and/or other debris lodged in the

             20 undercarriage.

             21            84.    Defendants failed to exercise reasonable care in that they failed to inspect,
             22 notice, and/or clear out the JEEP’s undercarriage, and Defendants failed to exercise

             23 reasonable care to prevent and respond to the fire, which originated from his JEEP, and

             24 Defendants failed to exercise reasonable care in that Defendants failed to extinguish the

             25 fire and prevent its spread.

             26            85.    Defendants knew or should have known that his acts and omissions as
             27 alleged herein would result in harm to the public in general, and did in fact cause

             28 substantial personal and real property damage to Plaintiffs including the destruction as
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                  1 described above. Defendants’ conduct was a substantial factor in causing Plaintiff’s

                  2 harm.

                  3         86.   The acts and omissions by Defendants were the legal cause of the injuries
                  4 and damages to the Plaintiffs. Defendants are liable to the Plaintiffs for all damages to

                  5 their property caused by the fire, including clean-up of the fire damaged acreage and

                  6 area, replacement, market value, loss of use, loss of business income, and/or other types

                  7 and categories of damages.

                  8         87.   As a proximate result of Defendants’ wrongful acts, Plaintiffs suffered
                  9 substantial personal and real property damage as described above.

             10             88.   As a proximate result of Defendants’ wrongful acts, Plaintiffs suffered the
             11 loss of current and future use of the SHRINE COMMUNITY and personal and real

             12 property located within it, including loss of business income, past and future.

             13                                SECOND CLAIM FOR RELIEF
             14                     II. Negligence Per Se- Health and Safety Code § 13007
             15                                     (Against All Defendants)
             16             89.   Plaintiffs hereby incorporate each and every allegation contained in
             17 Paragraphs 1 through 41 as though fully set forth herein.

             18             90.   Under California Health and Safety Code § 13007, any person who
             19 willfully, negligently, or in violation of law, sets fire to, allows fire to be set, or allows a

             20 fire kindled or attended by him to escape to the property of another, whether privately or

             21 publicly owned, is liable to the owner of such property for any damages to the property

             22 caused by the fire.

             23             91.   On or about July 6, 2013, Defendants negligently, recklessly, and/or
             24 intentionally started the CHARIOT FIRE, as described above.

             25             92.   Plaintiffs owned real and personal property located in the SHRINE
             26 COMMUNITY.

             27             93.   On or about July 6, 2013, the Defendants caused the CHARIOT FIRE that
             28 destroyed the SHRINE COMMUNITY, including real and personal property owned by
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                  1 Plaintiffs.

                  2        94.    Defendants are liable to Plaintiffs for all damages to their property caused
                  3 by the fire, including clean-up costs, replacement, market value, loss of use, loss of

                  4 business income, and/or other types and categories of damages.

                  5        95.    Defendants violated California Health and Safety Code § 13007 when
                  6 JASON PETERS, while acting within the course and scope of his employment and/or

                  7 agency with the BLM, negligently, recklessly, and/or intentionally caused the

                  8 CHARIOT FIRE, which subsequently destroyed personal and real property owned by

                  9 Plaintiffs.

             10            96.    Defendants’ violation of the law was a substantial factor in bringing about
             11 the harm to Plaintiffs.

             12            97.    As a proximate result of Defendants’ wrongful acts, Plaintiffs suffered
             13 substantial personal and real property damage including the destruction of real and

             14 personal property as described herein and above.

             15            98.    As a proximate cause of Defendants’ wrongful acts, Plaintiffs suffered the
             16 loss of current and future use of the SHRINE COMMUNITY and personal and real

             17 property located within it, including loss of business income, past and future.

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                  1                                           PRAYER
                  2 WHEREFORE, Plaintiffs pray for judgment against all Defendants, and each of them,

                  3 as follows:

                  4        1.     For general damages;
                  5        2.     For special and/or economic and/or loss of use damages;
                  6        3.     For incidental damages;
                  7        4.     For costs of suit incurred herein; and
                  8        5.     For such other and further relief as the court may deem just and proper.
                  9

             10
                      Dated: November 24, 2014                      GOMEZ TRIAL ATTORNEYS

             11                                                     By: /s/ John P. Fiske
             12
                                                                    John H. Gomez
                                                                    John P. Fiske
             13                                                     Stephanie S. Poli
             14
                                                                    Attorneys for Plaintiffs

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